Case 1:02-cV-01281-.]DB-tmp Document 30 Filed 06/09/05 Page 1 of 3 Page|D 49

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UNiTED STATES DISTRICT COURT *~~ -».

WESTERN DISTRICT OF TENNESSEE 05 JUH _9 PH _
EASTERN I)IVISION [“ 3'+
QGBEF?? ,, ,_.
DONALD GEOGHAN, ) §§ ’ 5 §-Lt`l;iio<z§@
) 9 li UEMFHJS`
Plaintiff )
)
v. ) No. 1:02-01281 - Bre-P
)
CORRECTIONS CORPORATION )
OF AMERICA, et al., )
)
Defendants )

 

AGREED ORDER HOLDING DEADLINES IN ABEYANCE

 

lt appears to the satisfaction of the Court that the parties have agreed, as
evidenced by the signatures of counsel for all parties below, that all deadlines be held in
abeyance until after a Scheduled Status Conference on June 24, 2005. This matter being
agreeable With the Court, it is hereby,

ORDERED, that all current deadlines are held in abeyance until after the
scheduled Status Conference on June 24, 2005.

Dated: this Cl day of 312 l'\{_ ,2005.

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-J=-BME-ITBREEN- 114 m, Phqm
UNITED sTATEs-ms=r-R-}ea= JUDGE

magistrate

 

 

This document entered on the dcc(<jt shea m compliance
with ante 53 and/or 79(3) FacP on __.1_3`0§

Case 1:02-cV-01281-.]DB-tmp Document 30 Filed 06/09/05 Page 2 of 3 Page|D 50

APPROVED FOR ENTRY:

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CERTIFICATE OF SERVICE

I certify that a copy of the foregoing has been served by U.S. mail upon Wayne
A. Ritchie, II and Robert W. Ritchie, Ritchie Fels & Dillard, P.C., P.O. Box 1126,
Knoxville, TN 37901-1126 and W. Gaston Fairey, LLC, 1722 Main Street, Suite 300,

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Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 1:02-CV-01281 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

ESSEE

 

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Honorable .l. Breen
US DISTRICT COURT

